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Pro Se I (Rev 12/\ 6) Complaint for a Civil Case




                                         UNITED STATES DISTRICT COURT
                                                                                                 for the
                                                                                                District of
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                                                                                                    Division

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         2011 W                     lj7r::io s                                c~ JJ             t)         Case No.
            Ti1·/ L ()v( J VI LLC: c.J+ ff 'I-IL(                                                   )                         (to be filfed in by the Clerk's Office)

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                              Plaintijf(s)                                                          )
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the ~pace above,
                                                                                                    )         Jury Trial:   (check one)    jLYYes        0      No
please write "see attached" in the space and attach an addiiional                                   )
page with the full list of names.)                                                                  )
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                              Def'endant(r)                                                         )
(Write the ji11/ name of each defendant who is being sued. If the                                   )
names of all the defendants cannot fir in the space above, please
wrile "see al/ached" in the space and attach an additional page
with the fuff fisr of names.)

                                 SecoviJ II- (!1                               e V1        Jed
                                                                COMPLAINT FOR A CIVIL CASE

I.         The Parties to This Complaint
           A.         The Plaintiff(s)

                      Provide the information below for each plaintiff named in the complaint. Attach additional pages if
                      needed.
                              N arn e           '5 ~t-f V C-t-7 6-     Pe. S /e,,/"
                                 Street Address                                      /-..CJ°?'? W- Y. 7viJS --- (-- ··-.
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                                 Citv and County                                             I r1Y)_ olfJ //I L l.,;...
                                 State and Zip Code                                        --:~-{c~/;··-·--~~f/;}~
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                                 E-mail Address                                                     ~:~:f~~2i-_ii, i~P-0- ~.3'!11q-)/                        ({) Wl
           B.         The Defendant(s)

                      Provide the information bclcrn• fm each defendant named in the cornplaint, whether the defendant is an
                      individual, a governrnent agency, an organization, or a corporation. For an individual defendant,
                      include the person's job or title (;/k11mrn). /\Hach additional pages ii' needed.

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4.    I filed charges with the Equal Employment Opportunity Commission regarding the
     defendant's disc1iminatory cond1ict on or ahout:

                                     -~-C::f~!1_~. . Lh._~ 0 L°I
                                     (Month, Day, Year)

5.   The Equal Employment Onnortunitv Commission sent the attached "Notice of Right to Sue"
     which J received on:
                                     __ f±.v5_US f~ :J.fJ I~
                                     (Month, Day, Year)

     (Please attach the "Notice of Right to Sue" to this complaint.)


6,   The discriminatory acts that are the basis of this suit are:

             £h__
             b.
                  E1        Failure to employ me
                            Failure to promote me
             c]:ZL.         Tennination of my employment
             ~!:_Cl...      Demotion
             c.L~­          Denied equal pay/work
             r._r=L         Sexual harassment
             g. [\?]        General harassment
                            Other acts (Be snecific: Attach rm additional sheet if neces;;u1·
                                (Q. e-J. 6t / 1C(·f 1°v1


7.   Defendant's conduct is d'iscrim.1natory wlth respect to:

                            my rnce                                  my religion
                            my color                                 my national origin
                            my sex                                   my age


8.   J believe that the defendant is still committing these nets against me .
             ..D. yes       _c]_no               N )A       jv-o    I O Ylff ..Q,r"   ·+A .e,re.

                                   D. CAUSE OF ACTION

1.   I allege that the defendant has discriminated against me and that the following !'acts form the




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  Case 2:19-cv-00821-CW Document 14 Filed 03/11/20 PageID.71 Page 3 of 11




 2.    Name offirst defendant:                 Doug,<;: rnith Autoplex dba
       Present mailing address or              Doug .S rnith .Subaru
       business locution:                      501 W Main .St
                                               American Fork, UT 84003



 3.    Name of second defendant:
       Present mailing address or
       business location:




 4.    Name of third defendant:
       Present muiling address or
       business location:




       (Use additional sheets if necessary.)


                                    C. NATURE OF CASE

 I.    The address at wh!ch l sought employment or was employed by the defendant(s) is:
                     501 W Main.St
                     American Fork, UT 84003




  2.   The discriminatory acts occurred on or about:

                                      September 12 2018 and .September 2017 through   S epternber 12, 20 l 8
                                      (Month, Day, Year)

 3.    I filed charges with the Anti Discrimination Division of the Utah State Industrial.
       Commission regarding the defendant's discriminatory conduct on or about:

Oh If F,/-(;J w 1~ €eoc                        Jv>t-<- 7'L       ~ o J e,
                                      (Month, Day, Year)




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               Case 2:19-cv-00821-CW Document 14 Filed 03/11/20 PageID.72 Page 4 of 11

EEOC Form 161 (11/16)                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                  DISMISSAL AND NOTICE OF RIGHTS
To:      Steven Pegler                                                                 From:    Phoenix District Office
         2099    w. 4700 s.                                                                     3300 North Central Ave
         Taylorsville, UT 84129                                                                  Suite 690
                                                                                                Phoenix,      AZ. 85012


       D
       -----~-C_O_N_F~ID_E
                         __
                             On behalf of person(s) aggrieved whose ldenll/y Is
                           N_TJ~A_L~(2.9          C/ZR §,'f 60·/.7(o)L..____.._ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _~--~
EEOC Charge No.                                  EEOC Reprosentatlve                                      Telephone No,

                                                 Jeremy A. Yubeta,
540-2019-02336                                   Enforcement Supervisor                                                   (602) 640-5028
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
       []         The facts alleged in the charge fall to state a claim under any of the statutes enforced by the EEOC.


       D          Your allegations did not Involve a disability as defined by the Americans With Dlsabllltles Act.

       [==:]      The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


       D          Your charge was not timely flied with EEOC; In other words, you waited too long after the date(s) of the alleged
                  discrimination to file your charge
       IX J       The EEOC Issues the following determination: Based upon Its investigation, the EEOC Is unable to conclude that the
                  Information obtained establishes violations of the statutes. This does not certify that the respondent is In compliance with,
                  the statutes. No finding Is made as to any other Issues that might be construed as having been raised by this charge.
        D         The EEOC has adopted the findings of the state or local fair employment practices agency that Investigated this charge:

        D         Other (briefly state)



                                                          - NOTICE OF SUIT RIGHTS -
                                                    (See the add/Ilona/ Information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsult against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 9Q DA-X:§ of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 yoara {3 ~ears}
before you file suit may not be collectible.

                                                          ~       .   On behalf or   y:r&c)rnr~lsslon

 Enclosures(s)                             ~--           cfter:::;,h ~;~~~---- ---
                                                                  .   District Director
                                                                                                                           JUL 3 1 2019
                                                                                                                               (Date Malled)


 cc:
               Tiffany Velez
               Human Resources
               Doug Smith Autoplex
               501 West Main
               American Fork, UT 84003




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       Case 2:19-cv-00821-CW Document 14 Filed 03/11/20 PageID.73 Page 5 of 11



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                           CHARGE OF DISCRIMINATION
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                                                                                         -                Charge Presented To:                   Agency(les) Charge No(s);              :   I

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 Steven Pegl.er                                                                                                          (801) 205·1303                             1952
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2099 W. 4700 S., Taylorsville, UT 84129
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DOUG SMITH SUSARU
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501 W. Main St., American                           Rlrk, UT 84003
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    []RACE                      COLOR                     SEX                 RELIGION       [ ] ] NATIONAL ORIGIN

                   RETALIATION         IK1      AGE       [ [ ] DISAOIWY             Cl       Gl?NETIC INFORMATION
                            OTHGR   (Sp~clfy)                                                                                          D           CONTINUING ACTION
THE PARTICULARS ARI! /II arldillonal paper 1$ nooriod, attach ex/ra shoel(B)p:
    I began working at Respondent In late July 2017 as a salesman.
    When I began working at Respondent I told manager Oerrlck Schwandlman about my medical
    condition, how it exhausted me but that I stlll wanted a job there.

    He hired me and gave me a schedule that gave me as many hours as everyone else (by not having a
    day off).

    On or about March 1, 2018 they reduced my schedule by one 7 hour shift a week.

    In or around September 20·17 salesman Blaine Brady became aggressive with me and got in my face.
    I oomplalned about this to sales manager Rich Green. Then, In or around October or November 2017,
    after explaining that a car had already been sold, Brady became aggressive with me again.
    As l went to Human Resources to report Brady I was met by General Manager Frank Smith. He said
    he would handle the complaint. So, I told him what happened both times with Brady and Rich Green.
    Smith reprimanded Graen who made Brady apologize to me. However, after this, Green made It
    difficult for me to close deals.

    During my tenure Rich Green constantly told me that Utah County people are different (Implying that
    I am not Mormon nor am I as conservative as locals who live In the County).

I wont lhls charge med with both !ho EEOC and tha Stato 01 local Agency, If any. I                NOTARY - When ne~O$Sary (Cir Sla/o and l.or:~I Aooncy Requlromo11ts
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     Case 2:19-cv-00821-CW Document 14 Filed 03/11/20 PageID.74 Page 6 of 11




                    CHARGE OF DISCRIMINATION                                                     Charge Presented To:               Agency0es} Charge No(s):
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                                                                                                    Cl FEPA
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                                                     Utah Antl-Dlscrlmln~tlon & Labor Division                                                         and EEOC




 I was discharged on or about September 12,201 Bu~hig an Inaccurate Google review as an excuse by
 a customer I Had 10 months prior to the review. It was fiotlous and I had told Rich Green about this
 customer at the time. He referred to me as a fat Jewish bald liberal guy and because I still saw
 reviews he complained about the whole dealershlp and management 6 months after I was fired.
 I believe I have been retaliated against for complaining about Brady and discriminated against due to
 my religion, Jewish and my national origin, in violation of Title VII of the Clvlf Rights Act of 1964, as

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 tmiunded. I believe 1have bean discriminated against due to my age In violation of the Age
 Discrimination In En1ployment Act of '1967 1 as amended. I believe I have boan dlscrlmtnated against
 In violation of the Americans with Disabilities Act .of 1SBO, a6 amended.




I want !his chorgn fll11d with both tho EEOC ond lh<;i Sinlo or local Agency, if any. l    NOTARY - When   11ncv·ss1~ry Im St8to and Locot Agency ReqvtrornMls
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Cause of Action - Harassment

Violation of Title VII of the Civil Rights Act of 1964

I had to work in a hostile environment with great trepidation.

    1) Approximately October 2017

        I told sales manager Rich Green how co-worker Blaine Brady screamed threateningly,
        inches from my face, for several minutes. He had charged out of the showroom (with
        customers at his desk watching) because I accidently set off a car alarm by the
        showroom. I thought he was going to hit me. Rich Green made Blaine Brady apologize to
        me the next day. He did not report the incident to Human Resources as Doug Smith
        Subaru policy requires. No disciplinary action was taken and no professional counseling
        was given.

    2) Approximately Two months later


        I told Blaine Brady and his customers I had just sold a car he was about to show them on
        a very busy Saturday. He started screaming at me in front of his customers and alarming
        several others nearby. He was upset because there was not a sold sign on the car. Sold
        signs are only put on cars pre-sold off the truck that brings them to the dealership. I
        bypassed Rich Green and asked General Manager Frank Smith where the Human
        Resources lady's office was located. I explained both incidents. He said he would handle
        it. Blaine Brady apologized the next day. No actions were taken.


        Reporting the incidents drove senior sales manager Rich Green to retaliate. Increased
        anxiety had me seeing my doctor several times. After several visits my doctor suggested
        I might be better off quitting. I believe at times it affected my performance. The
        retaliation eventually led to my firing. I feared a more serious result next time it
        happened.




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   Cause of Action - Retaliation


   Violation of Title VII of the Civil Rights Act of 1964


   Managers Rich Green, Derrick Schwendiman, and John Cassel retaliated against me for
   taking harassment complaints to Frank Smith.


           1) Approximately March pt or 2nd 2018

               Instead of working a double shift once a week and having a day off it was
               agreed by Derrick Schwendiman I would have no days off and no double shift
               because of my disability- sleep apnea. This was agreed when I was hired in
               September 2017. I came in second in sales in February 2018 and had my best
               month. Rich Green and John Cassel told me I could work only 4 days starting
               this month, March 2018. The reason was "it wasn't right."

           2) Rich Green made my sales deals harder to close when he could. I told many
               customers to come back when he was not there. Some did. I learned to go to
               Derrick Schwendiman when I thought the circumstances might turn out
               better. All worked deals are saved in the computer. It can be looked up
               where a deal was left off and how it was worked if the customer comes in to
               buy again.


               Doug Smith Subaru's policy states if a salesman does not sell at least 7 cars a
               month in consecutive months they would be terminated. Less hours made
               this more difficult. My financial opportunities were reduced.




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   Cause of Action - Religion


   Violation of Title VII of the Civil Rights Act of 1964


           1) Approximately Sept 2017


               All 10 employees and all 4 managers at Doug Smith Subaru were LDS when I
               started working there. When I was fired approximately September 12 2018;
               13 of the 14 salesmen and the 4 managers were LDS.


           2) Approximately Sept 12 2018


               An Anti-Sematic google review criticizing me was the reason sales managers
               Rich Green, Derrick Schwendiman, and John Cassel gave for firing me. Derrick
               Schwendiman said Subaru of America would be told about this review. The
               review was about Johnathan Coyne's experience approximately 10 months
               prior that Rich Green handled and to paraphrase said the customer was
               "looking to get something." Rich Green took no action against me when it
               happened. Upon firing me he said he vaguely remembered it.


               Doug Smith Subaru's sales managers did not investigate the review. They
               received another google review that was blistering and nasty review 6
               months later about the management; it did not mention me at all. I saw the
               review as I was still getting the notifications on my email. They used religion
               to fire me and damage my career and income. Doug Smith Subaru's top
               salesman for 12 years told me there is a learning curve of 1 year. I was about
               to take off- he's been making over 6 figures for several years.




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Request for Relief


Referring to my injury- I ask for $132,000 plus damages.

I earned approximately $38,000 from Doug Smith Subaru in 2018. Prorated to the end of the

year I would have earned about $50,000. I believe my experience would have translated to a

20% increase the following 2 years. $60,000 the first year, $72,000 the second year.

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                     Case 2:19-cv-00821-CW Document 14 Filed 03/11/20 PageID.79 Page 11 of 11


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    (c) Allorneys (Firm Nume, Ad1lr•·'"'· mid T,lephnnu Number)




II. IJASIS OF JURISDICTION (!'lace an "X" lnOna Box0nl)1                                                                     UL CITIZENSHIP OF PRINCIPAL PARTIES                                               (l'lm·u an "X" 111onu1ioxfi11· 1'lai111iif
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